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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC1
                                                                    (Jointly Administered)
                     Debtors.


              DECLARATION OF CATHERINE NOWNES-WHITAKER
          OF OMNI AGENT SOLUTIONS REGARDING THE SOLICITATION
         OF VOTES AND PRELIMINARY TABULATION OF BALLOTS CAST
        ON THE SECOND MODIFIED FIFTH AMENDED CHAPTER 11 PLAN OF
    REORGANIZATION FOR BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC

             I, Catherine Nownes-Whitaker, being duly sworn, hereby declare as follows:

             1.     I am the Chief Operating Officer of Omni Agent Solutions (“Omni”), located at

5955 DeSoto Avenue, Suite 100, Woodland Hills, California 91367. I am over the age of eighteen

years and not a party to the above-captioned action. Unless otherwise noted, I have personal

knowledge of the facts set forth herein.

             2.     I submit this declaration (this “Declaration”) with respect to the solicitation of votes

to accept or reject the Second Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy

Scouts of America and Delaware BSA, LLC [D.I. 7832], dated December 17, 2021 (as may be

amended, supplemented, or modified from time to time, the “Plan”) and the preliminary tabulation

of Ballots.2 Except as otherwise noted, all facts set forth herein are based on my personal

knowledge, knowledge that I acquired from individuals under my supervision, and my review of


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      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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      All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Plan, the Solicitation Procedures Order (as defined below), or the Solicitation Procedures (as defined below), as
      applicable.
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relevant documents. I am authorized to submit this Declaration on behalf of Omni. If I were called

to testify, I could and would testify competently as to the facts set forth herein.

       3.      On April 8, 2020, Omni was retained as administrative agent to the Debtors, nunc

pro tunc to February 18, 2020. See D.I. 372. As administrative agent, Omni’s services include

solicitation, balloting, and tabulation of votes on the Plan. Omni and its employees have

considerable experience in soliciting and tabulating votes to accept or reject chapter 11 plans.

        Service and Transmittal of Solicitation Packages and the Tabulation Process

       4.      Pursuant to the Order (I) Approving the Disclosure Statement and the Form and

Manner of Notice, (II) Approving Plan Solicitation and Voting Procedures, (III) Approving Forms

of Ballots, (IV) Approving Form, Manner, and Scope of Confirmation Notices, (V) Establishing

Certain Deadlines in Connection with Approval of the Disclosure Statement and Confirmation of

the Plan, and (VI) Granting Related Relief [D.I. 6438] (the “Solicitation Procedures Order”), the

Bankruptcy Court established procedures to solicit votes from, and tabulate Ballots submitted by,

holders of claims entitled to vote on the Plan (the “Solicitation Procedures”). Beginning on

October 1, 2021, Omni commenced distribution of Solicitation Packages (including Ballots) to

creditors entitled to vote on the Plan. I supervised the solicitation of votes and tabulation of Ballots

performed by Omni employees.

       5.      The Solicitation Procedures Order established October 1, 2021 as the record date

(the “Voting Record Date”) for determining which creditors were entitled to vote on the Plan.

Pursuant to the Plan and the Solicitation Procedures Order, only holders of claims as of the Voting

Record Date in the following classes were entitled to vote to accept or reject the Plan (the “Voting

Classes”):




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                Plan Class                        Class Description
                   3A                        2010 Credit Facility Claims
                   3B                        2019 RCF Claims
                   4A                        2010 Bond Claims
                   4B                        2012 Bond Claims
                    5                        Convenience Class Claims
                    6                        General Unsecured Claims
                    7                        Non-Abuse Litigation Claims
                    8                        Direct Abuse Claims
                    9                        Indirect Abuse Claims

       6.      In accordance with the Solicitation Procedures Order, Omni worked closely with

the Debtors’ other advisors to identify the creditors entitled to vote in each Voting Class as of the

Voting Record Date and to distribute Solicitation Packages to these creditors.           A detailed

description of Omni’s distribution of Solicitation Packages to creditors is set forth in Omni’s

Affidavit of Service of Solicitation Materials, which was filed with the Bankruptcy Court on

December 28, 2021. See D.I. 7999.

       7.      All valid Ballots cast by creditors in the Voting Classes and received by Omni on

or before the Voting Deadline were tabulated pursuant to the Solicitation Procedures Order. Also

in accordance with the Solicitation Procedures Order, Omni received, reviewed, and determined

the validity of the Ballots. Upon its receipt by Omni, each Ballot was date-stamped, scanned,

entered into Omni’s voting database and otherwise processed in accordance with the Solicitation

Procedures Order. To be included in the preliminary tabulation results, a Ballot must have been

(a) properly completed pursuant to the Solicitation Procedures, (b) executed by the relevant

creditor entitled to vote on the Plan (or such creditor’s authorized representative), (c) returned to

Omni by one of the methods of delivery specified in the Solicitation Procedures Order, and

(d) received by Omni by 4:00 p.m. (prevailing Eastern Time) on December 28, 2021 (the “Voting




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Deadline”), as extended by the Court [D.I. 7665] from the original voting deadline of December

14, 2021.3

        8.       In addition, as of the filing of this Declaration, Omni has identified at least 3,400

potential duplicative Ballots across all Voting Classes. While many of these Ballots have already

been reconciled, Omni is continuing to review these Ballots, with the assistance of the Debtors’

other advisors, to definitively identify duplicative Ballots. Omni is continuing to conduct a quality-

control review and reconciliation with respect to all of the Ballots it has received. This review and

reconciliation includes manually validating approximately 1,200 Class 9 Ballots timely received

by Omni without the claim number or the Omni-assigned Ballot identification number. The Final

Voting Report will contain voting results that reflect the completion of this process, including with

respect to duplicative Ballots in Classes 8 and 9 and the Class 9 Ballots that have yet to be included

in this preliminary tabulation of timely received and properly completed Ballots. Omni is also

continuing to review Master Ballot submissions for compliance with the Solicitation Procedures,

and the Final Voting Report may reflect changes based on this review. Additionally, Omni

continues to receive Ballots as of the date hereof. Ballots received after the Voting Deadline will

be separately tabulated and disclosed in the Final Voting Report, which is scheduled to be filed on

January 17, 2022.

        9.       The preliminary tabulation summary of timely received and properly completed

Ballots is attached hereto as Exhibit A.

        10.      The Class 8 Ballot and the Master Ballot included instructions on how to elect the

optional Expedited Distribution under the Plan in exchange for granting full and final releases of

Direct Abuse Claims in favor of the Settlement Trust, the Protected Parties, and the Chartered


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    Parties were provided notice of the extension pursuant to the Notice of Extension of Voting Deadline to Accept or
    Reject Plan to December 28 2021 at 4:00 p.m. (Eastern Time) and Related Deadlines [D.I. 7608].


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Organizations (each, an “Expedited Distribution Election” and collectively, the “Expedited

Distribution Elections”). The preliminary tabulation summary of the Expedited Distribution

Elections made on timely received and properly completed Class 8 Ballots is included in Exhibit A

hereto. For the avoidance of doubt, this Declaration does not certify the validity of any such

Expedited Distribution Election. The preliminary tabulation is provided for reporting and

informational purposes only.

       11.       The Ballots also included instructions on how to opt out of certain limited releases

(“Releases by Holders of Claims”) contained in Article X.J.4 of the Plan (each, an “Opt-Out

Election” and collectively, the “Opt-Out Elections”). The preliminary tabulation summary of Opt-

Out Elections made on timely received and properly completed Ballots is included in Exhibit A

hereto. For the avoidance of doubt, this Declaration does not certify the validity of any such

Opt-Out Election. The preliminary tabulation is provided for reporting and informational

purposes only.

       12.       Voting creditors with Class 6 General Unsecured Claims greater than $50,000 were

entitled to elect on their Ballots to have such Claims irrevocably reduced to $50,000 and treated

as a Class 5 Convenience Claim (upon Allowance) (each, a “Convenience Claim Election” and

collectively, the “Convenience Claim Elections”).         The preliminary tabulation summary of

Convenience Claim Elections is included in Exhibit A hereto. For the avoidance of doubt, this

Declaration does not certify the validity of any such Convenience Claim Election.                The

preliminary tabulation is provided for reporting and informational purposes only.




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        13.      A report of Ballots excluded from the preliminary tabulation prepared by Omni, and

the reasons for the exclusion of such Ballots, is attached hereto as Exhibit B.4 Ballots were

excluded from tabulation for several reasons, including on the following grounds:

                     “Amount aggregated on another Ballot” means that the separate claims of a
                      single voting creditor were aggregated as if such creditor held one claim in the
                      voting class, and the votes treated as a single vote to accept or reject the Plan in
                      accordance with Section V.D of the Solicitation Procedures.

                     “Superseded by subsequently submitted valid Ballot included in preliminary
                      tabulation” means that the Ballot was superseded by a later Ballot submitted by
                      the same voting creditor on account of the same claim.

                     “Ballot not signed” means that the voting creditor or its agent failed to sign the
                      Ballot.

                     “Holder did not indicate vote to accept or reject the Plan” means that the voting
                      creditor failed to indicate acceptance or rejection of the Plan on the Ballot.

                     “Ballot submitted on account of claim filed after the bar date” means that the
                      voting creditor failed to file a timely proof of claim. Pursuant to the Solicitation
                      Procedures, only holders of timely filed claims were entitled to vote to accept
                      or reject the Plan.

                     “Superseded by Master Ballot per D.I. 6821 and 7605” means that the Master
                      Ballot was tabulated instead of the individual Ballot, in accordance with and for
                      the reasons set forth in the Notice of Solicitation Error and Invalidation and
                      Reissuance of Ballots in Accordance with Certain Law Firms’ Elections Under
                      the Solicitation Procedures Order [D.I. 6821] and the Notice of Update to
                      Notice of Solicitation Error and Invalidation and Reissuance of Ballots in
                      Accordance with Certain Law Firms’ Elections Under the Solicitation
                      Procedures Order [D.I. 7605].

                     “Superseded by direct Ballot received from holder of claim” means that the vote
                      submitted pursuant to a Master Ballot was superseded by a Ballot received
                      directly from an individual holder of a Direct Abuse Claim, in accordance with
                      Section IV.F of the Solicitation Procedures.

                     “Party does not have valid proof of claim on file” means that Omni received a
                      Ballot from a voting creditor that does not have a proof of claim on file, and is

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    At least 330 documents submitted to Omni in connection with solicitation that were not Ballots and blank Ballot
    submissions were not listed on Exhibit B. Omni attempted to resolve these documents and Ballots submitted
    with other deficiencies by contacting the claimant or claimant’s counsel (to the extent represented by counsel) or
    providing them with a personalized Ballot and instructions for submitting their Ballot as stated in the Solicitation
    Procedures.


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                   therefore not entitled to vote. Pursuant to the Solicitation Procedures, only
                   holders of timely filed claims were entitled to vote to accept or reject the Plan.

       14.     A report of all undeliverable Solicitation Package mailings of which Omni is aware as

of the filing of this Declaration is attached hereto as Exhibit C. Omni served a supplemental

Solicitation Package to each address provided where mail was returned with a forwarding address.

Omni compared mail returned without a forwarding address against the National Change of

Address (NCOA) database to identify address format inconsistencies and conducted supplemental

mailings to the extent possible. Omni attempted to resolve undeliverable mailings through

additional customary practices, including, but not limited to, reviewing the addresses listed on

applicable proofs of claim for accuracy against the address listed on the mailing, reviewing change-

of-address notices filed on behalf of applicable claimants, and communication with claimants’

counsel (to the extent represented by counsel) to request updated mailing information.


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       I declare under penalty of perjury that, after reasonable inquiry, the foregoing is true and

correct to the best of my knowledge, information and belief.



Dated: January 4, 2022
       Woodland Hills, California               /s/ Catherine Nownes-Whitaker
                                                Catherine Nownes-Whitaker
                                                Chief Operating Officer
                                                OMNI AGENT SOLUTIONS




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